 Case 21-05150-lrc       Doc 7    Filed 01/24/22 Entered 01/24/22 15:34:09             Desc Main
                                   Document     Page 1 of 3



                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

IN RE:                                    :     CHAPTER 7
                                          :
MICHAEL SCOT FLECK,                       :     CASE NO. 21-54965-LRC
                                          :
        Debtor.                           :
__________________________________________:___________________________________
                                          :
S. GREGORY HAYS, Chapter 7 Trustee        :
for the Estate of Michael Scot Fleck,     :
                                          :
        Plaintiff,                        :
                                          :
vs.                                       :     ADV. PRO. NO. 21-05150-LRC
                                          :
JPMORGAN CHASE BANK, N.A. and             :
FIGURE LENDING LLC,                       :
                                          :
        Defendants.                       :
                                          :



                        ACKNOWLEDGEMENT OF SERVICE AND
                           STIPULATION EXTENDING TIME

         JPMorgan Chase Bank, N.A. (“Chase”), a defendant herein, hereby acknowledges service of

the Summons [Doc. No. 4] (the “Summons”) and the Complaint [Doc. Nos. 1-3] (the “Complaint”)

in the above styled action and waives any further or additional service of the Summons or Complaint

– reserving, and without prejudice to, any defenses or arguments other than sufficiency of service of

process and sufficiency of process.

         In addition, Chase and S. Gregory Hays, as Chapter 7 Trustee and plaintiff herein

(“Trustee”), stipulate, under Local Rule 9006-1, that the time within which Chase may answer or

otherwise plead is extended through and including February 18, 2022. This is the first such




17677476v1
 Case 21-05150-lrc      Doc 7     Filed 01/24/22 Entered 01/24/22 15:34:09          Desc Main
                                   Document     Page 2 of 3



extension of time agreed to by Trustee and Chase, and the original deadline to respond was January

19, 2022.

         This 24th day of January, 2022.

                                             ARNALL GOLDEN GREGORY LLP
                                             Attorneys for Trustee

                                             By: /s/ Michael J. Bargar
                                                Michael J. Bargar
                                                Georgia Bar No. 645709
171 17th Street NW, Suite 2100
Atlanta, Georgia 30363-1031
Phone: (404) 873-8500
Email: michael.bargar@agg.com


                                             MCCALLA RAYMER LEIBERT PIERCE, LLC
                                             Attorneys for Chase

                                             By: /s/ William O. Tate
                                             [With Express Permission to Michael J. Bargar]
                                             William O. Tate
                                             Georgia Bar No. 311044
                                             william.tate@mccalla.com
1544 Old Alabama Road
Roswell, GA 30076
Phone: (678) 281-6473




                                                2
17677476v1
 Case 21-05150-lrc        Doc 7     Filed 01/24/22 Entered 01/24/22 15:34:09               Desc Main
                                     Document     Page 3 of 3



                                  CERTIFICATE OF SERVICE

        This is to certify that I, Michael J. Bargar, have this day served a true and correct copy of the
foregoing Acknowledgement of Service and Stipulation Extending Time by electronic mail or first
class United States mail, with adequate postage included, as indicated, on all those persons or entities
set forth below at the addresses stated:


Electronic Mail
William O. Tate
william.tate@mccalla.com

         This 24th day of January, 2022.

                                                                 /s/ Michael J. Bargar
                                                                 Michael J. Bargar
                                                                 Georgia Bar No. 645709




                                                   3
17677476v1
